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 1
     ERIN DARLING                            CAROL A. SOBEL SBN 84483
 2
     Law Office Of Erin Darling              KATHERINE L. ROBINSON SBN 323470
 3   3435 Wilshire Blvd., Ste 2910           WESTON ROWLAND SBN 327599
 4   Los Angeles, Ca. 90010                  Law Office of Carol A. Sobel
     t. 323 736-2230                         1158 26th Street, #552
 5   e. erin@erindarlinglaw.com              Santa Monica, CA 90403
 6                                           t. 310 393 3055
     PAUL HOFFMAN, SBN 71244                 e. carolsobel@aol.com
 7
     MICHAEL SEPLOW SBN 150183               e. klrobinsonlaw@gmail.com
 8   AIDAN MCGLAZE SBN 277270                e. rowland.weston@gmail.com
     JOHN WASHINGTON SBN 315991
 9
     SCHONBRUN, SEPLOW, HARRIS, HOFFMAN & ZELDES LLP
10   9415 Culver Blvd, #115
11   Culver City, CA 90230
     t. 310 396-0731; f. 310 399-7040
12   e. hoffpaul@aol.com
13   e. jwashington@sshhlaw.com
14                 UNITED STATES DISTRICT COURT
15       CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
16   BLACK LIVES MATTER LOS                           CASE NO.: CLASS ACTION
17   ANGELES, an organization, DAVID                  COMPLAINT
     BROWN, DAVID CLENNON, and
18
     KERRY HOGAN, all individually and                42 U.S.C. § 1983: U.S.
19   on behalf of a class of similarly situated       CONSTITUTION: FIRST,
20
     persons,                                         FOURTH, AND FOURTEENTH
                                                      AMENDMENTS
21                PLAINTIFFS,                         CALIFORNIA CONSTITUTION,
22                                                    ARTICLES 1, §§ 2, 3, 7, 13 CIVIL
                  v.                                  CODE § 52.1
23
     CITY OF SANTA MONICA, a                          FALSE ARREST, ASSAULT,
24
     municipal entity, CHIEF CYNTHIA                  BATTERY
25   RENAUD, and DOES 1-10 inclusive,
26                DEFENDANTS.
27

28                                                1
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 1   I.      INTRODUCTION
 2        1. “Debacle” is the word used by outside investigators, retained by Defendant
 3
     City to review the events of last Spring, to describe Defendant City of Santa
 4
     Monica’s response to mass protests in the City, similar to those across the nation
 5
     responding to the murder of George Floyd in Minneapolis by police officers. The
 6
     events in Minneapolis produced enormous demonstrations around the country to
 7
     condemn the deaths of Black and Brown men and women at the hands of law
 8
     enforcement and vigilantes condoned by local law enforcement. Some of the larger
 9
     protests in the region occurred in the City of Santa Monica.
10
          2. On May 31, 2020, a sweeping City-wide curfew was instituted, taking effect
11
     in the late afternoon. The curfew orders applied to everyone living in the City.
12

13
     They were aimed at preventing all political protest at a time when hundreds of

14
     peaceful protestors sought to express their opposition to the police violence that

15   resulted in the murder of George Floyd in Minneapolis, Breonna Taylor in
16   Louisville and many other Black and Brown men and women.
17        3. On May 31, 2020, and on June 1, 2020, the Santa Monica Police Department
18   (“SMPD”) arrested a total of approximately 400 people. Although there was
19   looting and vandalism that occurred in some parts of the City, the allegedly criminal
20   activity was not in the area of the protests. The SMPD, and officers from other law
21   enforcement agencies responding to the City’s request for mutual aid, focused on
22   the protestors, rather than individuals engaged in looting and other criminal activity.
23   As a result, few of those arrested were charged with a serious crime unrelated to
24
     the demonstrations. Nonetheless, the City of Santa Monica tried to prevent the
25
     peaceful protests by instituting curfew orders on short order to take effect at varying
26
     times in the afternoon of May 31 and June 1, 2020.
27

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 1      4. The police kettled the protestors at several locations. As some of the
 2   protestors attempted to return to their cars and leave the area, they were met by
 3
     random groups of officers, both from the SMPD and other agencies responding to
 4
     the City’s request for mutual aid, who roamed the streets, arresting anyone in a
 5
     public place. Some, like plaintiff CLENNON, were arrested while walking home
 6
     alone, holding the sign they brought to the protest. Others, such as plaintiff
 7
     HOGAN, were shot with projectiles indiscriminately shot into groups of protestors
 8
     when they presented no serious threat of harm to the police or anyone else, let alone
 9
     any threat of harm, and were not violently resisting arrest. Still others, like plaintiff
10
     BROWN, were targeted for arrest, plucked from a group of peaceful protestors,
11
     transported to the makeshift “jail,” and released in the City of Los Angeles and
12

13
     warned they would be rearrested if they came back to Santa Monica.

14
        5. SMPD ended the protests through the use of force (batons and “rubber

15   bullets”) and imposed unconstitutional conditions of confinement on arrestees by
16   holding them on buses for many hours, tightly handcuffed with zip ties, without
17   access to bathroom facilities, food, or water. On the buses, arrestees were seated
18   inches apart, with the windows closed and with no ventilation, compounding the
19   potential exposure to COVID-19. When officers went to remove the zip ties, they
20   lacked the necessary equipment to do so and so resulted to using knives and other
21   sharp instruments to cut the restraints, injuring many arrestees in the process.
22      6. Most of the arrestees were transported to the Santa Monica Airport, where
23   they were processed, cited and released. As alleged herein, Defendants had no plan
24
     for mass arrests of peaceful protestors. As a result, the arrests failed the most basic
25
     constitutional protections: there was no way to track which officer arrested which
26
     plaintiff, where and why. Ultimately, all or almost all arrestees were released on a
27
     misdemeanor charge of violating a City Municipal Code provision that applied to
28                                               3
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 1   the curfew. SMPD’s operation that day and mishandling of the response to the
 2   protests resulted in the immediate and abrupt retirement of Chief Renaud.
 3
           7. By preemptively banning peaceful assemblies, kettling the demonstrators,
 4
     subjecting them to unlawful force, arresting and detaining them tightly handcuffed
 5
     on buses for hours, without access to bathrooms, water, or food, Defendants
 6
     violated Plaintiffs’ federal and state constitutional rights.
 7
     II.      JURISDICTION AND VENUE
 8
           8. This is an action for damages for violations of Plaintiffs' federal and state
 9
     constitutional and statutory rights. Jurisdiction exists pursuant to 28 U.S.C. §§ 1331
10
     and 1343 as Plaintiffs’ assert a claim under 42 U.S.C. § 1983. Jurisdiction also
11
     exists under the Declaratory Judgment Act, 28 U.S.C. §§ 2201(a) and 2202. The
12

13
     Court has supplemental jurisdiction to consider Plaintiffs’ state law claims under

14
     28 U.S.C. § 1367 as these state law claims arise from the same common nucleus of

15   operative facts as their federal claims.
16         9. Venue is proper in the Western Division of the Central District of California
17   pursuant to 28 U.S.C. § 1931(b) because the events and conduct giving rise to
18   Plaintiffs’ claims all occurred in Los Angeles County.
19    III.       EXHAUSTION OF ADMINISTRATIVE REMEDIES
20         10. Plaintiffs timely filed a claim for damages pursuant to California
21   Government Code § 910, et seq. on behalf of the class of individuals injured by
22   Defendants’ wrongful conduct. The claim was rejected by mail notice sent on
23   December 28, 2020. The state law claims herein are timely.
24
     IV.      PARTIES – PLAINTIFFS
25
           11.      BLACK LIVES MATTER LOS ANGELES (“BLMLA”) is part of
26
      a nationwide organization with chapters in many major cities, including the Los
27
      Angeles area. BLMLA originated in Los Angeles on July 13, 2013, the date
28                                              4
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 1    George Zimmerman was acquitted of killing teenager Trayvon Martin in Florida.
 2    BLMLA is one of the largest and most active chapters of BLM, with nearly 500
 3
      active members and organized ally groups, including White People for Black Lives.
 4
      In response to George Floyd’s murder, BLMLA sponsored protests in Los
 5
      Angeles and Santa Monica and participated in protests organized by others.
 6
      Defendants’ actions interfered with BLMLA’s right to assembly and speech.
 7
      BLMLA intends to assist, plan, participate in and hold similar events in the future,
 8
      on its own or in conjunction with others, and fears that the same unlawful police
 9
      actions in response to protests of institutional racism and police brutality will be
10
      repeated absent injunctive and declaratory relief to prohibit the practices, policies,
11
      and customs that caused the unlawful action in response to the recent protests.
12

13
            12.   Plaintiff DAVID BROWN has lived in Santa Monica for more than

14
     40 years, since high school. On May 31, 2020, he was protesting peacefully near

15   the Third Street Promenade when he was grabbed by officers pulled out of the
16   group of protestors and handcuffed. Although he provided no resistance, he was
17   struck with batons during the arrest process. He was transported to the makeshift
18   jail at the Santa Monica Airport, where he was held for hours without access to
19   bathrooms, water or food, then cited for a curfew violation and released. SMPD
20   officers drove him to a gas station on Centinela Avenue, in Los Angeles and just
21   across the border with Santa Monica. The officers threatened that, if he returned
22   to Santa Monica, he would be arrested. When Brown responded that he lived in
23   Santa Monica, the officers repeated the threat. Mr. BROWN wants to be able to
24
     engage in peaceful protest in the City in the future, without concern or fear that he
25
     will be arrested again, particularly by his mere presence in the City where he lives.
26
     Mr. BROWN’s arrest is shown below.
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         14.      Plaintiff DAVID CLENNON is a resident of the City of Santa
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      Monica. On June 1, 2020, he participated in a protest in the City, near Ocean
16
      Avenue. When officers warned the assembled protestors to leave or face arrest,
17
      he left the demonstration and started walking home. A short time after he walked
18
      awy from the protests, he was contacted by officers in a patrol car. CLENNON
19
      continued walking on the public sidewalk, intermittently lifting his protest sign.
20

21
      Although the curfew was in effect at the time, CLENNON observed a steady flow

22
      of vehicles passing him on the street, none of which were stopped by the police.

23    CLENNON soon observed a second patrol car come on the scene. A few moments
24    later, he was detained by Officer Ward, issued a citation for a curfew violation
25    even though he was on his way home, and released.
26       15.      Plaintiff KERRY HOGAN was attended a protest with her husband
27    on May 31, 2020 on Ocean Avenue near the Fisherman's Pier sign. To show that
28                                            6
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 1    their peaceful intent, the protestors were on their knees with their hands in the air.
 2    At the time, HOGAN was not aware that the time of the curfew had been moved
 3
      up by several hours and there was no police warning of the change in time.
 4
         16.      Around 4 pm, one person behind the protestors threw a single water
 5
      bottle in the direction of the police. The response from law enforcement was
 6
      immediate and unwarranted, firing LLMs indiscriminately into the group of
 7
      protestors even though a single person threw a bottle, and even though the
 8
      protestors, as a group, posed no threat of immediate violence. No attempt was
 9
      made to identify and remove the individual but, instead, an assault was launched
10
      on the entire group, without a dispersal order warning of the intention to use LLMs
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      on the entire assembly, then on their knees with their hands up to communicate
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13
      their non-violent, non-threatening protest.

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 1       17.       HOGAN got up to leave and was hit in her rib cage on right side of
 2    her body with a projectile, causing bruising and pain, as the officers continued to
 3
      shoot into the group indiscriminately and without lawful justification. HOGAN
 4
      estimates that the officers were well more than 100 feet away from the protestors
 5
      at the time she was shot, far outside the allowable range for use of the target
 6
      specific LLMs to ensure that individuals who do not pose an immediate threat of
 7
      harm to the officer or others, or who are not violently resisting arrest are not struck
 8
      with an instrument of force that can cause serious bodily injury, and even death.
 9
      The officers shot indiscriminately into the protest despite the fact that many of the
10
      demonstrators were moving at the time and the deployment of target-specific
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      weapons was improper in these circumstances.
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 1        18.     Some, such as HOGAN, were hit with projectiles in parts of the body
 2    that are prohibited strike zones for properly trained officers because of the well-
 3
      documented potential for catastrophic injuries, and even death, from the force of
 4
      less lethal munitions impacting vital organs
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     V.     PARTIES – DEFENDANTS
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            17.    Defendant City of Santa Monica is a municipal corporation duly
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     organized and existing under the Constitution and laws of the State of California.
22
     The Santa Monica Police Department is an agency of Defendant City of Santa
23
     Monica, and all actions of the SMPD are the legal responsibility of the City of Santa
24
     Monica. At all relevant times, Defendant City was responsible for assuring that the
25
     actions, omissions, policies, practices, and customs of the SMPD and its employees
26
     and agents complied with the laws of the United States and the State of California.
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 1        18.        Defendant CHIEF CYNTHIA RENAUD was, at all times relevant
 2    to this action, the SMPD police chief and a policymaker for her department. She
 3
      is sued in both her individual and official capacities.
 4
               19.   Plaintiffs are informed, believe, and thereupon allege that Does 1
 5
      through 10 were agents, servants, or employees of Defendants City of Santa
 6
      Monica and the SMPD. Some Doe Defendants were part of a mutual aid response
 7
      from local law enforcement agencies, and others were part of the National Guard,
 8
      at all times responding to requests from Defendants for assistance and acting under
 9
      the direction of the Defendant City of Santa Monica. Plaintiffs are ignorant of the
10
      true names and capacities sued herein as Does 1 through 10, inclusive, and
11
      therefore sue these Defendants by such fictitious names. Plaintiffs will amend this
12

13
      Complaint to allege their true names and capacities when ascertained. The

14
      individual Doe Defendants are sued in both their individual and official capacities.

15       20.     Plaintiffs are informed, believe, and thereupon allege that at all times
16    relevant hereto Does 1 through 10, in addition to the named Defendants, are
17    responsible in some manner for the damages and injuries alleged herein.
18       21.     Plaintiffs are informed, believe, and thereupon allege that at all times
19    relevant hereto, Defendants, and each of them, were the agents, servants, and
20    employees of the other Defendants and were acting at all times within the scope of
21    their agency and employment and with the knowledge and consent of their principal
22    and employer. At all times, Defendants acted under the color of state law.
23       22.     Plaintiffs are informed, believe, and thereupon allege that Defendant City
24
      of Santa Monica’s policies and failure of policies, including the failure to train its
25
      officers in constitutional responses to peaceful demonstrations, caused the unlawful
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      action taken against Plaintiffs.
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 1    VI.      STATEMENT OF FACTS
 2       23.    On May 25, 2020, Minneapolis Police Officer Derek Chauvin murdered
 3
      George Floyd, suspected of forgery for attempting to use a purportedly counterfeit
 4
      $20 bill. Officer Chauvin, along with two other officers, pinned Mr. Floyd on the
 5
      ground, handcuffed behind his back, with their body weight on him and ignored
 6
      pleas to get off his neck, back, and legs and to let him breathe. Bystanders
 7
      videotaped the incident as Mr. Floyd died on the street in Minneapolis at the hands
 8
      of the police. His murder ignited thousands of Americans to participate in protests
 9
      across the country to proclaim Black Lives Matter.
10
         24. Mr. Floyd joins the long list of Black and Brown victims whose lives were
11
      cut short, without lawful justification, by law enforcement officers.. In just a short
12

13
      time, Michael Brown, Breonna Taylor, Tamir Rice, Philando Castile, Freddie Gray,

14
      Walter Scott, Botham Jean, and Atatiana Jefferson were killed by police.

15       25. On May 31, 2020, the City imposed a curfew that went into effect at 4:00
16    p.m. That same day, hundreds of people joined protests in the City meant to decry
17    the unjustified murder of George Floyd. One protest took place on Ocean Avenue,
18    where the Santa Monica Police Officers blocked the entrance to the Santa Monica
19    Pier. Despite the unlawful actions of a few at other locations, particularly those
20    engaged in looting and vandalism, the vast majority of participants were peaceful
21    protestors and were so identified by law enforcement in communications.
22       26. According to a review report prepared for the City by an outside group, the
23    Office of Independent Review (“OIR”), 1 the SMPD had no adequate plan, if they
24

25

26
                EXA-OIR Group Report (santamonica.gov) (INDEPENDENT AFTER
                   1

27    ACTION AND EVALUATION REGARDING THE EVENTS LEADING TO,
      DURING, AND FOLLOWING MAY 31, 2020) issued May 4, 2021
28                                              11
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 1    had any, to interact with peaceful protestors while responding to individuals and
 2    groups engaged in unlawful conduct. With looting going on in other areas of the
 3
      City, the SMPD focused attention on the Plaintiffs and brought in mutual aid from
 4
      neighboring jurisdictions, as well as the National Guard, to respond to peaceful
 5
      protests. Culver City, Redondo Beach and Beverly Hills responded to the request
 6
      for mutual aid, albeit in a very limited fashion. Without clear direction by SMPD,
 7
      the addition of non-SMPD officers added to the chaotic law enforcement response.
 8
         27. No constitutionally valid policy on the use of less-lethal weapons would
 9
      authorize deployment aimed at an individual’s chest area, especially near the heart,
10
      because of the potentially serious, and possibly fatal, injury it could cause. Any
11
      properly trained law enforcement officer, acting pursuant to a constitutionally
12

13
      sufficient policy, would know not to deploy a less-lethal launcher in this manner.

14
         28. Acting on the alleged violation of the curfew, the SMPD, the National Guard,

15    as well as members of other law enforcement agencies responding as mutual aid,
16    handcuffed and arrested hundreds of peaceful protestors. All arrestees were
17    detained for several hours, with most transported to the Santa Monica Airport.
18       29. Class member DAVID BROWN was detained under conditions generally
19    applicable to the class as a whole.
20       30. The Airport location was inaccessible to public transportation. Many of the
21    arrestees were driven to locations in the City of Los Angeles, at the border with
22    Santa Monica, and dropped off at gas stations. Some, such as class representative
23    DAVID BROWN, were told that they would be arrested if they returned to Santa
24
      Monica again during some undefined time period even though, as Plaintiff
25
      BROWN explained, he was a long-time resident of the Defendant City.
26

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 1       31. Many class members had their wallets and cell phones confiscated at the
 2    time of their arrests and not returned at the time of release. For some plaintiffs, their
 3
      phones were returned to them on release but were broken and inoperable.
 4
      VII. MONELL ALLEGATIONS
 5
         32. According to the OIR report, the City of Santa Monica failed to conduct
 6
      training on crowd control response to large protests for at least five year prior to
 7
      the Floyd protests. While some officers had taken a course on advanced techniques,
 8
      even that training was several years old. The OIR identified this as a significant
 9
      failure because SMPD’s policies and training did not incorporate current practices.
10
      Current California Peace Officer Standards and Tactics (“POST”) guidelines for
11
      crowd control management were not met.
12

13
         33. The Defendant City failed to train, or failed to have adequate policies, on the

14
      lawful use of Less Lethal Munitions, especially in the context of responding to

15    protests.   As a consequence of the City’s failure, LLMs were deployed
16    indiscriminately and improperly, causing physical harm and fear to demonstrators
17    who posed no threat of immediate physical harm to officers or others, and who
18    were not violently resisting arrest.
19       34. The Defendant City implemented a sweeping curfew that was not justified
20    by the circumstances. The initial curfew order was issued by a City manager and
21    subsequently ratified by the City Council. At the direction of the Chief of Police,
22    a policy maker for the City, the protestorswere kettled, handcuffed, arrested, held
23    in unconstitutional conditions of confinement, charged with a curfew violation and
24
      then released because the SMPD failed to institute even the most basic criminal
25
      due process guaranteed to identify the arresting officer, the individualized
26
      suspicion to make an arrest, and other necessary factual predicates for a criminal
27
      prosecution. At the time that the City determined to issue misdemeanor citations
28                                               13
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 1    to all of the arrestees, the City knew or should have not known that they could not
 2    proceed with these prosecutions because of the wholesale failure to document the
 3
      most basic information for each arrest, creating criminal records for individuals
 4
      who did no more than engage in peaceful protest.
 5
         35. The SMPD had no policy for mass bookings, for establishing a field jail, for
 6
      transporting arrestees to jail, for completing necessary citations and booking – in
 7
      short, no lawful strategy for arresting and detaining Plaintiffs in a manner
 8
      consistent with constitutional requirements and calculated to avoid extensive
 9
      delays before release. Each of these policies would be expected to be included in
10
      a proper and current policy for crowd control management. The OIR report
11
      concluded that the policies applied, and the overall lack of policies, produced a
12

13
      “debacle.”

14
         36. The lack of adequate policies resulted in the SMPD focusing on arresting

15    peaceful protestors while others engaged in unlawful activity, including looters,
16    were largely allowed to move to another area because the SMPD did not have the
17    capacity to arrest them.
18       37. The use of force was ratified by the SMPD’s failure to discipline more than
19    a few officers, including the many officers the OIR found did not turn on their body
20    cameras, despite evidence of multiple potential use-of-force incidents that raised
21    clear concerns of unlawful and excessive force. For example, the OIR reviewed
22    body worn cameras and identified seven incidents that warranted investigation, at
23    a minimum. This list included one officer who struck an individual seated on the
24
      ground with a baton to make the person move; pepperballs shot at a person running
25
      away from a parking garage; 37mm less lethal KIPS fired at proscribed body areas
26
      (as with Plaintiff HOGAN), or at persons running away; force used to take down
27

28                                             14
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 1    individuals wrongly suspected of being looters; and arrestees’ hands cut while
 2    removing zip-ties with a knife.
 3
      VIII. CLASS ACTION ALLEGATIONS
 4
            38.    One or more of the named Plaintiffs bring this action individually
 5
      and on behalf of a proposed class of all other persons similarly situated pursuant to
 6
      FRCP Rule 23(b)(1), (b)(2), and (b)(3). The damages classes are defined as:
 7
                  a. Arrest Class: All persons present at the May 31, 2020 and June 1,
 8
                     2020 protests regarding the killing of George Floyd in the City of
 9
                     Santa Monica, who were handcuffed and arrested by the SMPD
10
                     and/or the City’s agent, including but not limited to the National
11
                     Guard, on charges of failure to obey a curfew, failure to disperse,
12

13
                     unlawful assembly, or similar charges related to the protests, and

14
                     who were subjected to prolonged detentions, tightly handcuffed and

15                   denied access to bathrooms and water.
16                b. Direct Force Class: All persons present at or during the aftermath
17                   of the George Floyd murder protests on May 31, 2020 and June 1,
18                   2020 protests in the City of Santa Monica, who were subjected to
19                   unlawful force employed by Defendant City and its agents.
20         B. Rule 23 Prerequisites
21                a. Numerosity
22          39.    In accordance with FRCP Rule 23(a)(1), the members of the class are
23    so numerous that joinder of all members is impracticable. The Protest Class is
24
      composed of hundreds of people. The Arrest Class consists of more than 300
25
      people, with the bulk of the arrests occurring late on May 31 and some effectuated
26
      on June 1, 2020. The size of the potential Direct Force Class is presently unknown
27
      but is believed to be more than 300 people. This estimate is based on the number
28                                             15
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 1    of Use of Force (“UOF”) incidents reported by SMPD officers and documented in
 2    the investigation by the Office of Independent Review (“OIR”). The OIR found
 3
      this number to be a significant undercount of the total UOF incidents.
 4
                    b. Commonality
 5
            40.      Questions of fact are common with respect to each class. These legal
 6
      and factual questions include but are not limited to:
 7
                  a. Did Defendants impose curfews without accommodating, or
 8
                     attempting to accommodate, the right to peaceable assembly and
 9
                     protests in violation of the First Amendment?
10
                  b. Did Defendants issue lawful dispersal orders prior to kettling and
11
                     arresting the plaintiffs?
12

13
                  c. Did the Defendants employ force to prevent and disperse the May 31,

14
                     2020 and June 1, 2020 George Floyd protests without regard to

15                   whether the such force was justified and without an adequate dispersal
16                   order?
17                d. Did Defendants subject the arrest class to prolonged conditions of
18                   detention, handcuffed, without access to bathrooms and water?
19          41.      The common questions of law include, but are not limited to:
20                e. The need to accommodate peaceable assembly and protest when
21                   imposing a sweeping curfew as a preemptive action based on unlawful
22                   actions of other individuals.
23                f. The limits on use of force against peaceful protestors who pose no
24
                     imminent threat of serious harm to law enforcement or other persons.
25
                  g. The need to comply with lawful conditions of detention for arrestees,
26
                     including access to bathrooms and, violate the Fourth or Fourteenth
27
                     Amendments and their state law analogues.
28                                               16
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 1                h. The requirement to refrain from intimidation, coercion and threats to
 2                   violate Plaintiffs’ constitutional and statutory rights as required by Cal.
 3
                     Civil Code § 52.1 (the Bane Act).
 4
                  i. The availability of class-wide damages available to the Plaintiffs.
 5
                  j. The statutory damages available under California Civil Code §52.1.
 6
                    c. Typicality
 7
            42.      In accordance with FRCP 23(a)(3), the claims of the representative
 8
      Plaintiffs are typical of the class. Plaintiffs were all present at the Santa Monica
 9
      Floyd protests on May 31, 2020; were subjected to one or more of the violations
10
      previously enumerated; and seek redress for the past violations of their rights and
11
      protection to bar the repeat of those violations in the future. Thus, Plaintiff have
12

13
      the same interests and have suffered the same type of damages as the class members.

14
      Plaintiffs’ claims are based upon the same or similar legal theories as the claims of

15    the class members of each class. Each class member suffered actual damages as a
16    result of being subjected to one or more of the violations enumerated above. The
17    actual injuries suffered by Plaintiffs are similar in type to those suffered by each
18    class member although the severity of the injuries may vary among class members.
19          43.      In accordance with F.R. Civ. P. Rule 23(a)(3), the representative
20    Plaintiffs will fairly and adequately protect the interests of the class. Their interests
21    are consistent with and not antagonistic to the interests of the class.
22                  d. Adequacy of Representation
23          44.      The named Plaintiffs will fairly and adequately represent the common
24
      class interest. The named Plaintiffs have a strong interest in achieving the relief
25
      requested in this Complaint, they have no conflicts with members of the Plaintiff
26
      class, and they will fairly and adequately protect the interests of the class.
27

28                                                17
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 1          45.    The named Plaintiffs are represented by counsel who are well-
 2    experienced in civil rights and class action litigation and are familiar with the issues
 3
      in this case. Attorneys Carol Sobel and Paul Hoffman successfully litigated a
 4
      number of class action cases on behalf of protesters in Santa Monica and are
 5
      currently representing a class of approximately 4,000 persons arrested protesting
 6
      the killing of George Floyd in Black Lives Matter Santa Monica v. City of Santa
 7
      Monica, Case No. 20-cv-05027 CBM - AS (CD CA).
 8
            46.    Both Ms. Sobel and Mr. Hoffman served as class counsel in Aichele,
 9
      et al. v. City of Los Angelses, et al., Case No. 2:12-CV-10863- DMG (C.D. Cal.
10
      August 26, 2012), (LAPD denial of OR release to arrestees during the Occupy
11
      action at Los Angeles City Hall); Chua v. City of Los Angeles, Case No. CV 2:16-
12

13
      cv-00237-JAK-GJS(x) (C.D. Cal. January 12, 2016) (LAPD arrest of protestors of

14
      the police killing of Michael Brown in Ferguson, Mo.); Multi-Ethnic Immigrant

15    Worker Network v. City of Los Angeles, 24 F.R.D. 631 (C.D. Cal. 2007) (LAPD’s
16    assault on a lawful immigrant-rights rally in MacArthur Park on May 1, 2007).
17    Attorney Erin Darling was counsel on two state court class actions: class counsel
18    on Guillory v. County of Los Angeles (BC 581823) (General Relief recipients
19    improperly cut off and denied benefits); counsel on Reed v. State of California (BC
20    432420) on behalf of middle school students at high-poverty schools staffed with
21    junior-ranked teachers who were dismissed based on LAUSD seniority rules.
22          47.    Counsel for the named Plaintiffs knows of no conflicts among or
23    between members of the class, the named Plaintiffs, or the attorneys in this action.
24
                  e. Maintenance and Superiority
25
            48.    In accordance with FRCP Rule 23(b)(1)(A), prosecutions of separate
26
      actions by individual members of the classes would create a risk that inconsistent
27

28                                               18
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 1    or varying adjudications with respect to individual members of the class would
 2    establish incompatible standards of conduct for the parties opposing the class.
 3
            49.    In accordance with FRCP Rule 23(b)(2), Defendants have acted on
 4
      grounds generally applicable to the class as a whole.
 5
            50.    In accordance with FRCP Rule 23(b)(3), the questions of law or fact
 6
      common to the members of the class predominate over any questions affecting only
 7
      individual members and this class action is superior to other available methods for
 8
      the fair and efficient adjudication of the controversy between the parties. Plaintiffs
 9
      are informed and believe, and thereon allege, that the interests of the class members
10
      in individually controlling the prosecution of a separate action is low in that most
11
      class members would be unable to individually prosecute any action at all.
12

13
      Plaintiffs are informed and believe, and thereon allege, that the amounts at stake

14
      for individuals are such that separate suits would be impracticable in that most

15    members of the class will not be able to find counsel to represent them. Plaintiffs
16    are informed and believe, and thereon allege, that it is desirable to concentrate all
17    litigation in one forum because all of the claims arise in the same location, i.e., the
18    City of Santa Monica. It will promote judicial efficiency to resolve the common
19    questions of law and fact in one forum rather than multiple courts.
20          51.    Plaintiffs do not know the identities of most class members. Plaintiffs
21    are informed and believe, and thereon allege, that the identities of the class
22    members are ascertainable in significant part through SMPD arrest records, at least
23    as it relates to those class members who were arrested. Plaintiffs are informed and
24
      believe, and thereon allege, that a significant number of class members may be
25
      reached by the use of outreach efforts through social media.
26
            52.    Plaintiffs know of no difficulty that will be encountered in the
27
      management of this litigation that would preclude its maintenance as a class action.
28                                              19
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 1    The class action is superior to any other available means to resolve the issues.
 2    Leading members of the Plaintiffs’ counsel managed similar litigation with
 3
      similarly disparate damages as a result of LAPD conduct in breaking up the May
 4
      Day 2007 protests that resulted in the MIWON litigation described previously, as
 5
      well as the Aichele and Chua litigation, all of which were against the City of Los
 6
      Angeles and the LAPD. Liability can be determined on a class-wide basis. General
 7
      damages can also be determined on a class-wide basis.
 8
            53.      In accordance with FRCP Rule 23(b)(3), class members must be
 9
      furnished with the best notice practicable under the circumstances, including
10
      individual notice to all members who can be identified through reasonable effort.
11
      Plaintiffs are informed and believe that SMPD computer records contain a last
12

13
      known address for class members who were arrested. Plaintiffs contemplate that

14
      individual notice be given to class members at such last known addresses by first

15    class mail, email and cell phone outreach, social media, and efforts of organizations
16    that organized the protests. Plaintiffs contemplate that the notice will inform class
17    members of the following regarding their damages claims:
18                a. The pendency of the class action, and the issues common to the class;
19                b. The nature of the action;
20                c. Their right to ‘opt out’ of the action within a given time, in which
21                   event they will not be bound by a decision rendered in this class action;
22                d. Their right, if they do not ‘opt out,’ to be represented by their own
23                   counsel and enter an appearance in the case; otherwise, they will be
24
                     represented by the named Plaintiffs and their counsel; and
25
                  e. Their right, if they do not ‘opt out,’ to share in any recovery in favor
26
                     of the class and, conversely, to be bound by any judgment on the
27
                     common issues, adverse to the class.
28                                               20
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 1          54.     As a direct and proximate cause of the conduct described herein, the
 2    named individual Plaintiffs and the class members have been denied their
 3
      constitutional, statutory, and legal rights as stated herein, and have suffered general
 4
      and special damages, including but not limited to, mental and emotional distress,
 5
      physical injuries and bodily harm, pain, fear, humiliation, embarrassment,
 6
      discomfort, and anxiety and other damages in an amount according to proof.
 7
            55.     Defendants’ acts were willful, wanton, malicious, oppressive, and
 8
      done with conscious or reckless disregard, and deliberate indifference.
 9
            56.     All claims for relief are asserted against all Defendants.
10
            57.     Although Plaintiffs’ legal theories overlap in some instances, they
11
      apply differently to different classes. Accordingly, they state their claims by class.
12

13

14
      IX.             FIRST CLAIM FOR RELIEF – ARREST CLASS
                  (First and Fourteenth Amendments to the U.S. Constitution;
15                              42 U.S.C. § 1983 for damages)
16
            58.     Plaintiffs reallege and incorporate herein by reference the preceding
17
      and any subsequent paragraphs in this Complaint.
18
            59.     The First Amendment generally requires the government to punish the
19

20
      few who break the law rather than proactively suppress lawful protest activity.

21
      “The generally accepted way of dealing with unlawful conduct that may be

22    intertwined with First Amendment activity is to punish it after it occurs … First
23    Amendment activity may not be banned simply because prior similar activity led
24    to or involved instances of violence.” Collins v. Jordan, 110 F.3d 1363, 1371–72
25    (9th Cir. 1996). Under long-standing precedent, an unlawful assembly order may
26    only be declared for “assemblies which are violent or which pose a clear and
27    present danger of imminent violence,” In re Brown, 9 Cal. 3d 612, 623 (Cal. 1973).
28                                              21
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 1          60.     In this instance, Defendants instituted sweeping curfew orders,
 2    criminalizing mere presence in the City during the hours of the curfew, even though
 3
      the City had the ability to arrest looters and vandals but chose, instead, to shut down
 4
      all assembly and expression. Plaintiffs were then arrested for violating the curfew.
 5
      The extraordinary reach of Defendant Santa Monica’s curfew violated Plaintiffs’
 6
      “fundamental right of free movement, ‘historically part of the amenities of life as
 7
      we have known them.’” Nunez v. City of San Diego, 114 F.3d 935, 944 (9th Cir.
 8
      1997) (citations omitted). Id. at 946 (strict scrutiny of curfew order for minors).
 9
            61.    The City, through Chief Renaud and the SMPD, failed to enact
10
      necessary policies and to train officers in lawful responses to peaceful protests.
11

12

13
      X.         SECOND CLAIM FOR RELIEF – ARREST CLASS
            (Fourth and Fourteenth Amendments to the U.S. Constitution;
14                     42 U.S.C. § 1983 for damages)
15
            62.     Plaintiffs reallege and incorporate herein by reference the preceding
16
      and any subsequent paragraphs in this Complaint.
17
            63.     All Arrest Class members were ultimately cited for violating the
18
      curfew order, because the SMPD had no means to identify the basis of individual
19

20
      arrests, the arresting officer and other basic information required to meet

21
      constitutional due process in a criminal proceeding. Plaintiffs were placed on

22    crowded buses and driven to a makeshift field jail at the Santa Monica Airport,
23    where they were held for hours in tight handcuffs before being processed and
24    released. There were no bathroom facilities or water available at the Santa Monica
25    Airport detention location and the officers did not have shears available to safely
26    cut and remove the flex cuffs used to restrain the arrest class. Instead, officers used
27    knives and crude instruments to remove the cuffs, causing injury to some arrestees.
28                                              22
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 1          64.     Defendants lacked any adequate process to document arrests. While
 2    some officers remained with arrestees as they waited for transport buses, others,
 3
      including many mutual aid officers, used their patrol vehicles to drive arrestees to
 4
      the airport, dropping off arrestees at the “jail.” For many arrestees, there was no
 5
      documentation of why the person was arrested, where the arrest occurred, whether
 6
      a dispersal order was given, or who the arresting officer was. Nonetheless, without
 7
      that essential information to meet due process in criminal proceedings, many
 8
      members of the arrest class remained detained in unconstitutional conditions.
 9
            65.     The release of the arrest class was further delayed by the location of
10
      the makeshift jail, far from public transportation, and potential problems from
11
      releasing arrestees in the middle of the night. Arrestees’ detention was prolonged
12

13
      by the failure to have a way for them to leave the jail safely.

14
            66.     Defendants’ conduct violated the Arrest Class members’ rights to be

15    free from unreasonable seizures under the Fourth Amendment, the Fourteenth
16    Amendment’s due process clause and state constitutional analogues.
17          67.     As a result of Defendants’ wrongful conduct, Arrest Class members
18    suffered damages as alleged above.
19

20    XI.             THIRD CLAIM FOR RELIEF - FORCE CLASS
21
                  Fourth and Fourteenth Amendment to the U.S. Constitution;
                               42 U.S.C. § 1983
22

23          68.     Plaintiffs reallege and incorporate herein by reference the preceding
24    and any subsequent paragraphs in this Complaint.
25          69.     All Direct Force Class members were shot with so-called “less-lethal
26    weapons” and/or struck with batons.
27

28                                              23
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 1            70.   Members of the Direct Force Class were shot with “rubber bullets”
 2    and struck with batons in a manner that evinced that Defendants applied force
 3
      unlawfully. Many were struck with “rubber bullets” in the upper body, including
 4
      Plaintiff HOGAN. Less Lethal Munitions were deployed indiscriminately and
 5
      inconsistent with policies and procedures to avoid target-specific weapons from
 6
      striking those who presented no imminent threat of harm to an officer or others, or
 7
      who are not violently resisting arrest. Baton strikes were used not to compel people
 8
      to retreat but to injure and punish them on site, as with Plaintiff BROWN.
 9
              71.   In violation of the Fourth amendment and analogous state provisions,
10
      Defendants used unreasonable and excessive force in indiscriminately deploying
11
      baton strikes and projectiles at protestors, not based on a determination of
12

13
      individual conduct justifying such force, but on the potentially unlawful acts of

14
      others.   This conduct was deliberately indifferent to the Direct Force Class

15    members’ rights, shocks the conscience, and violates the decencies of civilized
16    conduct under the Fourteenth Amendment and its state law analogues.
17            72.   As a result of Defendants’ wrongful conduct, and that of their
18    employees and agents, Direct Force Class members suffered damages as alleged.
19

20     XII.               FOURTH CLAIM FOR RELIEF
21                  Violation of the Bane Act (Cal. Civil Code § 52.1)
22
              73.   Plaintiffs re-allege and incorporate by reference the preceding
23
      paragraphs as though fully set forth herein. The federal and state constitutions
24
      guarantee the right to assembly and to petition the government for a redress of
25
      grievances, as well as to be free from unnecessary and excessive force by law
26
      enforcement officers. Defendants, by engaging in the wrongful acts and failures to
27
      act alleged above, denied these rights to the Plaintiffs by threats, intimidation, or
28                                             24
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 1    coercion, to deter, prevent and in retaliation for the exercise of Plaintiffs’ First
 2    Amendment rights, in violation of Cal. Civ. Code § 52.1.
 3
              74.   The use of unreasonable force by Defendants was a substantial factor
 4
      in causing the violation of rights and attendant harm by Plaintiffs.
 5
              75.   Defendant City of Santa Monica is liable for the wrongful conduct of
 6
      its employees and its agents through the doctrine of respondeat superior and
 7
      vicarious liability. Defendants’ actions, as set out above, constituted interference
 8
      by threat, intimidation, or coercion, with the exercise or enjoyment by any
 9
      individual or individuals of rights secured by the Constitution or laws of the United
10
      States, or of the rights secured by the Constitution or laws of California in violation
11
      of Cal. Civil Code §52.1. The violation of § 52.1 includes violations of the rights
12

13
      of the class members outlined throughout this Complaint.

14
              76.   As a direct and proximate result of the aforementioned acts or

15    omissions of Defendants, Plaintiffs sustained damages, including but not limited to
16    general damages, statutory damages and treble statutory damages under Cal. Civ.
17    Code § 52, but no less than $4,000 for each incident, and pain and suffering.
18

19    XIII.              FIFTH CLAIM FOR RELIEF
                                  ASSAULT
20
                    (By the Force Class Against Defendants)
21
              77.   Plaintiffs re-allege and incorporate by reference all preceding
22
      paragraphs as though fully set forth herein.
23
              78.   Defendants shot the members of the Excessive Force Class using
24
      Less-Lethal Launchers and struck them with batons.
25
              79.   As a direct and proximate result of the aforementioned acts or
26    omissions of Defendants, members of the Force Class sustained and incurred
27    damages including physical injuries, and pain and suffering.
28                                              25
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 1
             80.    The Defendant City of Santa Monica is liable for the actions of the
 2
      officers of the Santa Monica Police Department through respondeat superior and
 3
      vicarious liability, as well as for the agents of other government entities which
 4
      responded to Defendant City’s request for mutual aid and operated under the
 5
      direction of employees and agents of the Defendant City.
 6

 7    XIV.                   SIXTH CLAIM FOR RELIEF
 8                        BATTERY BY A POLICE OFFICER
                         (The Force Class Against all Defendants)
 9

10           81.   Plaintiffs re-allege and incorporate by reference all preceding
11    paragraphs as though fully set forth herein.
12           82.   Defendants, by the actions of the officers of the SMPD, its employees
13    and agents, intentionally touched members of the Force Sub-Class without their
14    consent by shoving, beating with batons, and shooting them with less-lethal
15    projectiles, resulting in significant bodily injury to their person.
16           83.   As a direct and proximate result of the aforementioned acts or
17    omissions of Defendants, Plaintiffs sustained and incurred damages including
18    physical injury and pain and suffering. The use of unreasonable force by the SMPD
19    Officers and their agents was a substantial factor in causing harm to the Plaintiffs.
20           84.   The Defendant City is responsible for the actions of its employees and
21    agents through the doctrine of respondeat superior.
22

23
       XV.               SEVENTH CLAIM FOR RELIEF
                        FALSE ARREST/FALSE IMPRISONMENT
24                       (By the Arrest Class Against Defendants)
25           85.   DEFENDANT CITY’S employees at the SMPD and its agents
26    through mutual aid, while acting within the course and scope of their duties,
27    intentionally deprived Plaintiffs in the Arrest Class of their freedom of movement
28                                               26
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 1
      by detaining and subjecting them to custodial arrests without individualized
 2
      reasonable suspicion or probable cause to believe a crime was committed.
 3
             86.   Ultimately, unable to ascertain which officers arrested which persons
 4
      and for what offense, nearly all members of the Arrest Class were released on a
 5
      charge of violating the curfew, regardless of the basis of their original arrest.
 6
             87.   Each member of the ARREST Class was imprisoned for hours on
 7
      buses, without any ventilation or access to bathrooms, food and water. The airport
 8
      location where the arrestees were held and processed lacked any bathroom facilities
 9
      All of the class members were handcuffed for hours and requests allow access to
10
      bathrooms and to loosen the restraints were ignored.
11
             88.   The conduct of Defendants complained of herein was a substantial
12
      factor in causing the harm to Plaintiffs in the ARREST Class.
13
             89.   Defendant City is liable for acts of its employees and agents pursuant
14
      to respondeat superior, vicarious liability and California Government Code
15
      §815.2(a).
16

17    XVI.                       REQUEST FOR RELIEF
18
             Wherefore, Plaintiffs seek judgment as follows:
19
             1.    An order certifying the class and each sub-class defined herein
20
      pursuant to Federal Rules of Civil Procedure Rule 23(b)(2) and (3);
21
             2.    A preliminary and permanent injunction restraining Defendants from
22
      engaging in the unlawful and unconstitutional actions detailed above and retaining
23
      Court jurisdiction to enforce the terms of the injunction;
24
             3.    A declaratory judgment that Defendants’ conduct alleged violated
25
      Plaintiffs’ rights under the United States and California Constitution and laws;
26
             4.    An order directing that all arrest records be removed from all criminal
27
      databases, whether operated by the City of Santa Monica, the State of California,
28                                              27
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 1
      or any other governmental entity and that all arrests be reduced to a “detention”
 2
      unless the individual arrested is convicted of the charge;
 3
            5.     For an order directing Defendants to identify to the Plaintiff class all
 4
      entities and agencies to which such information has been disseminated;
 5
            6.     General and compensatory damages for Plaintiffs and the class they
 6
      represent for the violations of their federal constitutional and statutory rights, pain
 7
      and suffering, all to be determined according to proof;
 8
            7.     Statutory damages for Plaintiffs and the class(es) for the violations of
 9
      their constitutional and statutory rights pursuant to California Civil Code §52;
10
            8.     An award of attorneys’ fees pursuant to 42 U.S.C. § 1988 and Cal.
11
      Civil Code §§ 52(b) & 52.1(h) and Cal. Code of Civ. Proc. § 1021.5;
12
            9.     Costs of suit;
13
            10.    Pre- and post-judgment interest as permitted by law;
14
            11.    Such other and further relief as the Court may deem just and proper.
15

16    Dated: June 28, 2021             Law Office of Carol A. Sobel
17
                                       Law Office of Erin Darling
                                       Schonbrun Seplow Harris Hoffman & Zeldes
18

19                                     /s/ Carol A. Sobel                   .
                                  By: CAROL A. SOBEL
20                                Attorneys for Plaintiffs
21                        DEMAND FOR JURY TRIAL
22

23          Plaintiffs hereby demand a jury trial in this action.
24
      Dated: June 28, 2021
25

26                                   /s/ Carol A. Sobel         .
                                 By: CAROL A. SOBEL
27                               Attorneys for Plaintiffs
28                                              28
